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      In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 13-181V
                                      Filed: January 23, 2015

***************************                            UNPUBLISHED
JACQUELINE CARNEY,                              *
                                                *      Special Master Hamilton-Fieldman
                         Petitioner,            *
v.                                              *      Attorneys’ Fees and Costs; Reasonable Amount
                                                *      Requested to which Respondent Does Not
SECRETARY OF HEALTH                             *      Object.
AND HUMAN SERVICES,                             *
                                                *
                         Respondent.            *
***************************
Danielle Strait, Maglio, Christopher & Toale, PA, Washington, DC, for Petitioner.
Ryan Pyles, United States Department of Justice, Washington, DC, for Respondent.

                                               DECISION 1

        On March 8, 2013, Jacqueline Carney (“Petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged that she
suffered from hearing loss, dizziness, and balance problems as a result of an influenza (“flu”) vaccine
administered to her on September 27, 2011. On December 16, 2014, the undersigned issued a decision
awarding compensation.

        On January 22, 2015, the parties filed a stipulation regarding attorneys’ fees and costs.
The parties have agreed to an award of $19,100.00 for attorneys’ fees and costs. In accordance with
General Order Number 9, Petitioner represents that she has not personally incurred any expenses in
pursuit of her claim.

        The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to 42

        1
          The undersigned intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107 347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule
18(b), each party has 14 days within which to file a motion for redaction “of any information furnished by
that party (1) that is trade secret or commercial or financial information and is privileged or confidential,
or (2) that are medical files and similar files the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” In the absence of such motion, the entire decision will be available to
the public. Id.
        2
          The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42
U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to individual
sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                     1
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U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and appropriate.
Accordingly, the undersigned hereby awards the amount of $19,100.00, in the form of a check made
payable jointly to Petitioner and Petitioner’s counsel, Danielle Strait, of the law firm of Maglio,
Christopher & Toale, PA.

      In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the court
SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                                  /s/ Lisa D. Hamilton-Fieldman
                                                                  Lisa D. Hamilton-Fieldman
                                                                  Special Master




        3
          Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                     2
